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1                                   UNITED STATES DISTRICT COURT
2                                 EASTERN DISTRICT OF CALIFORNIA
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4
     WILLIAM MANN SR., an individual; and                       CASE NO.: 2:16-cv-01847-WBS -DB
5
     ROBERT MANN, DEBORAH MANN, and
     VERNADINE MURPHY MANN, as Co-                              ORDER TO DISMISS ENTIRE ACTION
6
     Administrators to the Estate of JOSEPH MANN,               WITH PREJUDICE
7

8
                             Plaintiffs,
9
            v.
10

11   CITY OF SACRAMENTO, a municipal
     corporation; JOHN TENNIS, in his individual
12
     and official capacity as Police Officer for the
13   CITY OF SACRAMENTO; RANDY LOZOYA,
     in his individual and official capacity as Police
14   Officer for the CITY OF SACRAMENTO; and
15
     DOES 1-50, inclusive, individually and in their
     official capacity as police officers for the City of
16   Sacramento,
17

18                          Defendants.

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20
            It is hereby ORDERED that pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(ii) the
21
     entire civil action entitled Mann v. City of Sacramento, et al. Case Number 2:16-cv-01847 – WBS - DB
22
     is dismissed with prejudice, each party to bear their own costs and fees.
23

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     Dated: February 17, 2017
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                           [PROPOSED] ORDER TO DISMISS ENTIRE ACTION WITH PREJUDICE
                                        Case No.: 2:16-cv-01847-WBS -DB

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